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                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA



     ELIZABETH SINES et al.                            :        CASE: 3:17-CV-72

             Plaintiffs,                               :         JUDGE MOON

                                v.                     :        REPLY IN SUPPORT OF
                                                                MOTION TO WITHDRAW
                                                       :
     JASON KESSLER et al.


             Defendants.                               :


                                         :
     ________________________________________________________________________

             Attorneys Elmer Woodard and James Kolenich hereby reply in support of their

     motion to withdraw as Counsel for defendants Robert Ray and Matthew Heimbach. The

     motion should be granted for the reasons that follow.

     I. The applicable legal standard allows for withdrawal

             Rule 1.16 of the Virginia Rules of Professional Conduct provides guidance for the

     situation set forth in the motion:

     a lawyer may withdraw from representing a client if withdrawal can be accomplished without

     material adverse effect on the interests of the client, or if:

     (4) the client fails substantially to fulfill an obligation to the lawyer regarding the lawyer’s

     services and has been given reasonable warning that the lawyer will withdraw unless the

     obligation is fulfilled;

     (5) the representation will result in an unreasonable financial burden on the lawyer …




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            As the motion to withdraw demonstrates, the Client’s have failed to pay their

     attorney fee bills. The Court has already found that “counsel are not obligated to represent

     Robert Ray or Matthew Heimbach without compensation” (DE 364 at p. 2) Therefore, the

     law allows for withdrawal in the absence of some reasonable justification for it’s denial.

     II. Plaintiffs attempt to demonstrate a reasonable justification fails

            The plaintiffs have opposed undersigned Counsel’s motion to withdraw because

     they are concerned about an alleged “disruptive impact of withdrawal in this discovery

     stage of the litigation”. (DE 384 at p. 5)

            In support of this objection Plaintiffs detail discovery problems that Plaintiffs

     attorneys claim they would have or would have had if Counsel are permitted to withdraw.

     (Id. at p. 5). But this objection ignores the Court order already issued regarding this

     motion. (see DE 364) Therein, the Court specified one discrete task that Counsel was

     ordered to perform before filing to withdraw. (DE 364 at p. 3) As stated in the second

     motion, and as appears on the docket of this case, that task has been completed.

     III. A denial of the motion to withdraw will inevitably unduly burden the moving
     Attorneys

            Plaintiffs allow that “withdrawal at some later point may” (DE 384 at 4-5) be

     acceptable to them but they don’t specify when. Are undersigned to work for free

     through depositions? Who will pay for those depostions? Will we work through motion

     practice? How about the month long jury trial and subsequent appeals?

            The plaintiffs have, of course, not asked that Counsel be detained that long.

     Rather, their argument focuses on the discovery process. In other words it focuses solely

     on the convenience of the plaintiffs attorneys. It does so while neatly ignoring 4th Circuit




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     case law allowing withdrawal for undue financial burden1 as well as ignoring this

     Court’s own order allowing for a second motion after completing a single task the Court

     explicitly found to be non-burdensome. (DE 364.)

             In order to detain undersigned any longer, this Court will have to find that

     numerous hours dedicated to discovery process and depositions, as well as thousands of

     dollars in court reporter fees are not legally burdensome to Attorneys. Moreover, the

     Court will have to overrule itself regarding the explicit permission as to timing of the

     second motion to withdraw found in DE 364.

             Contrary to plaintiffs assertions, now is the most reasonable time for Counsel to

     withdraw. Dragging this out any further runs the very real risk of substantial time and

     financial burdens wrongfully being imposed on undersigned Counsel. It further runs the

     risk of disruption of the proceedings as undersigned litigate whether or not they are

     entitled to an interlocutory appeal of this issue. Sanford v. Maid-Rite Corp., 816 F. 3d

     546 , (8th Cir. 2016), Fid. Nat’l Title Ins. Co. v. Intercounty Nat’l Title Ins. Co., 310 F.3d

     537 (7th Cir. 2002).

             Accordingly, the motion to withdraw should be granted forthwith.


                                                        Respectfully Submitted,
                                                        s/ James E. Kolenich PHV                       __
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      Heinzman v. Fine, Fine, Legum &Fine, 234 S.E.2d 282, 285 (Va. 1977), Calkins v. Pacel Corp., 602 F.
     Supp. 2d 730, 732-33 (W. D. Va. 2009).

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                                  CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true copy of the foregoing was served as indicated below on
     November 26, 2018:

     All parties of record were served via the Court’s ECF system except as detailed below:

     Robert Ray via electronic mail at REDACTED
     Matthew Heimbach via electronic mail at REDACTED


                                                 s/ James E. Kolenich PHV
                                                 _______________________________
                                                 J. E. Kolenich #0077084




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